                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

AMERICAN MODERN HOME                         )
INSURANCE COMPANY,                           )
                                             )
           Plaintiff,                        )
                                             )
      v.                                     )          Case No. 4:16 CV 215 CDP
                                             )
AARON THOMAS, et al.,                        )
                                             )
           Defendants.                       )

                          MEMORANDUM AND ORDER

       Plaintiff American Modern Home Insurance Company brings this

declaratory judgment action seeking a declaration that there is no coverage under a

renters’ insurance policy issued to defendants Aaron and Aimee Thomas on their

claim for property damage caused by fire. In their counterclaim, the Thomases

raise claims of vexatious refusal to pay and intentional infliction of emotional

distress, which American Modern Home now moves to dismiss for failure to state

a claim.1 For the following reasons, I will permit these claims to proceed.

                                    Legal Standard

       American Modern Home moves to dismiss the Thomases’ claims under Fed.

R. Civ. P. 12(b)(6) for failure to state a claim. When reviewing a Rule 12(b)(6)

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 The counterclaim also seeks a declaration that American Modern Home must pay all amounts
due under the policy. This claim is not a subject of the motion to dismiss.
motion to dismiss, I assume the allegations in the complaint to be true and construe

the complaint in favor of the complaining party. See Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555-56 (2007); Huggins v. FedEx Ground Package Sys., Inc., 592

F.3d 853, 862 (8th Cir. 2010); Anzaldua v. Northeast Ambulance & Fire Prot.

Dist., 978 F. Supp. 2d 1016, 1021 (E.D. Mo. 2013). To survive a motion to

dismiss, the complaint need not contain “detailed factual allegations,” but it must

contain facts with enough specificity “to raise a right to relief above the speculative

level.” Twombly, 550 U.S. at 555. The issue in determining a Rule 12(b)(6)

motion is not whether the complaining party will ultimately prevail, but whether he

is entitled to present evidence in support of his claim. See Skinner v. Switzer, 562

U.S. 521, 529-30 (2011) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).

                                     Discussion

A.     Vexatious Refusal to Pay

       In Count II of their counterclaim, the Thomases invoke Mo. Rev. Stat. §§

375.296 and 375.420 to allege that American Modern Home’s failure and refusal

to pay on their insurance claim amounts to vexatious refusal to pay under Missouri

law.

       To the extent the Thomases invoke § 375.296 as a basis for recovery, I will

grant the motion to dismiss. The present state of Missouri law supports American

Modern Home’s argument that § 375.296 applies only to insurance companies not


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authorized to transact business in the State of Missouri. See Irish v. Allied Prop. &

Cas. Ins. Co., No. 13-05015-CV-SW-JTM, 2013 WL 3773982, at *2 (W.D. Mo.

July 18, 2013) (citing Missouri cases). Because American Modern Home is

authorized to do business in Missouri, the Thomases cannot recover against it on a

claim of vexatious refusal to pay brought under § 375.296. Accordingly, to the

extent Count II seeks recovery under § 375.296, it will be dismissed for failure to

state a claim. The claim survives, however, under § 375.420 and will be permitted

to go forward. Irish, 2013 WL 3773982, at *2.

      I will also grant American Modern Home’s motion to the extent it seeks to

dismiss the Thomases’ claim that American Modern Home’s conduct giving rise to

their claim of vexatious refusal to pay also violated Mo. Rev. Stat. § 375.1000 and

constituted a breach of its fiduciary duty of good faith and fair dealing. The

Thomases concede that they cannot bring a private cause of action under §

375.1000 and, further, aver that they intended to assert only a statutory claim of

vexatious refusal to pay and not a common law claim of breach of fiduciary duty.

      Finally, to the extent American Modern Home argues that Count II fails to

state a claim generally because an insurer may seek a judicial determination of a

factual question without being penalized for vexatious refusal to pay, I will deny

the motion. American Modern Home’s averments in support of this argument rely

on matters outside the pleadings, which I may not consider on a Rule 12(b)(6)


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motion to dismiss. Enervations, Inc. v. Minnesota Mining & Mfg. Co., 380 F.3d

1066, 1069 (8th Cir. 2004).

B.    Intentional Infliction of Emotional Distress

      In Count III of their counterclaim, the Thomases sufficiently allege that

American Modern Home engaged in tortious conduct independent and “quite

distinct” from conduct merely constituting breach of an insurance contract. That

this conduct is alleged to have occurred during the course of American Modern

Home’s investigation into the Thomases’ insurance claim does not immunize the

insurer against this tort claim. Overcast v. Billings Mut. Ins. Co., 11 S.W.3d 62,

68-69 (Mo. banc 2000).

       Further, contrary to American Modern Home’s assertion, it is not apparent

from the face of the counterclaim that the alleged tortfeasor was an independent

contractor for whom American Modern Home cannot be held vicariously liable.

Cf. C.H. Robinson Worldwide, Inc. v. Lobrano, 695 F.3d 758, 764 (8th Cir. 2012)

(affirmative defense can provide basis for dismissal under Rule 12(b)(6) if defense

is apparent on face of complaint). Nor are the Thomases required to plead facts

disproving this affirmative defense in order to state a claim for relief. See

Enervations, Inc., 380 F.3d at 1069.

      I will therefore deny the motion to dismiss directed to Count III of the

counterclaim.


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      Accordingly,

      IT IS HEREBY ORDERED that plaintiff American Modern Home

Insurance Company’s Motion to Dismiss Counts II and III of Defendants’

Counterclaim [80] is GRANTED in part and DENIED in part as set out above.

Defendants Aaron and Aimee Thomas are permitted to proceed on the claims

raised their counterclaim, with Count II being limited to a claim of vexatious

refusal to pay under Mo. Rev. Stat. § 375.420.




                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE


Dated this 22nd day of May, 2017.




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